                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 _________________________________________
                                           :
 CRAIG BOSTON,                             :
                                           :
                         Plaintiff,        :    CIVIL ACTION
                                           :
                v.                         :    No. 20-cv-1980
                                           :
 DR. ABBY CASSIDY, et al.,                 :
                                           :
                                           :
                         Defendants.       :
                                           :
 _________________________________________ :


                                  FINAL CONSENT ORDER


                      2nd day of _________________,
       AND NOW, this ____         February          2022, upon agreement of the parties,

the Court finds the following:

       Whereas, Plaintiff Craig Boston has been diagnosed with a serious mental illness;

       Whereas, Plaintiff has filed suit for both injunctive and monetary relief against

Defendants, alleging unconstitutional and otherwise unlawful conditions of confinement at

Bucks County Correctional Facility (BCCF) arising from the alleged inadequate or improper

treatment of his alleged serious mental illness, his alleged prolonged placement in solitary

confinement, and Defendants’ alleged use of unreasonable and excessive force against him;

       Whereas, Plaintiff and Defendants, without conceding any infirmity in their claims or

defenses, and prior to completing formal discovery, have reached a settlement agreement on

Plaintiff’s claims for injunctive relief and damages;
         Whereas, the Plaintiff is currently confined at Norristown State Hospital (NSH), a

behavioral health treatment facility, pending the resolution of the matter of Commonwealth v.

Boston, CP-09-CR-0005641-2016;

         Whereas, Plaintiff and Defendants agree that Plaintiff's serious mental illness can be

appropriately treated at Norristown State Hospital; and

         Whereas, the Court finds, based upon the entire record and the parties’ stipulation and

joint request, that this Final Consent Order satisfies the requirements of 18 U.S.C. §

3626(a)(1)(A) in that it is narrowly drawn, extends no further than necessary to correct the

alleged violation of Plaintiff’s Federal rights, and is the least intrusive means necessary to correct

the alleged violation of Plaintiff’s Federal rights;

         THEREFORE, it is hereby ORDERED and DECREED, upon agreement of the parties in

this case, that Bucks County Department of Corrections shall not initiate nor authorize the

transfer of Plaintiff to BCCF during the pendency of Commonwealth v. Boston, CP-09-CR-

0005641-2016, including the service of any sentence imposed in that case, without first notifying

and consulting with counsel for all parties in this matter and without prior authorization from this

Court.

         After any dismissal of this matter pursuant to a settlement agreement, any party may

reopen this case through a motion seeking enforcement of this Final Consent Order.




                                                       BY THE COURT:



                                                         /s/ Gerald J. Pappert
                                                       ____________________________________
                                                       GERALD J. PAPPERT, J
                                                       United States District Court Judge


                                                   2
